Case 5

 

3146 Red Hill Avenue, Suite 200
Costa Mesa, California 92626
Telephone: (714) 432-0990

Fax: (714) 432-0352

Email: cweinberg@bamlaw.net

Attorneys for Defendants
ANDY and TUYEN NGUYEN

JAMES RUTHERFORD, an individual,
Plaintiff,

V.

ANDY NGUYEN, an individual;

TUYEN NGUYEN, an individual; and

Does 1-10, inclusive,

Defendants.

PO-cv-01077-PSG-SP Document 31 Filed 10/15/20 Page 1of10 Page ID #:124

CATHERINE J. WEINBERG, ESQ. [SBN 222066]
BUCKNER, ROBINSON & MIRKOVICH

UNITED STATES DISTRICT COURT
FOR THE
CENTRAL DISTRICT OF CALIFORNIA

 

 

absence of violation.

Dated: October 15, 2020

1

Pursuant to the August 18, 2020, Order of the District Court, defendants

ANDY NGUYEN and TUYEN NGUYEN hereby file and serve their evidence of

Respectfully submitted,

BUCKNER, ROBINSON & MIRKOVICH

Case No. 5:20-cv-01077-PSG-SP

DEFENDANTS’ EVIDENCE OF
ABSENCE OF VIOLATION

  

 

 

 

 

DEFENDANTS’ EVIDENCE OF ABSENCE OF VIOLATION

 

 
Case 5:20-cv-01077-PSG-SP Document 31 Filed 10/15/20 Page 2of10 Page ID #:125

Site Accessibility Evaluation

Americans with Disabilities Act
And
Title 24 And Part 2 - California Building Code

Parking Lot

16441-16455 Main St
Hesperia, CA 92345

Exterior Parking Lot Only

Inspection Date: 10/31/2019
Prepared By Inspector: Craig Lobnow

 

 

 

(833) 776 - 2277
ProCASp.com

 

Powered by ( BlueDAG

 
Case 5:20-cv-01077-PSG-SP Document 31 Filed 10/15/20 Page3of10 Page ID #:126

Martin Gomez
15555 Main St.
Herperia, CA, 92345
11/03/2019

Dear Gomez,

Thank you for the opportunity to be of service to you by performing an accessibility
evaluation for the parking lot located at 16441-16455 Main St, Hesperia, CA, 92345. The
facility was inspected on 10/31/2019. At the time of the inspection, the parking lot and
accessible routes were found to be in compliance with applicable state and federal
accessibility requirements. There were no violations noted.

The ADA applies to this property because it is a public accommodation as defined in the
Department of Justice's regulations implementing title Ill. 28 C.F.R. §36.104. Title III of
the ADA requires that, as a place of public accommodation, the property owner is
required to remove architectural barriers in existing facilities where such removal is
readily achievable. 28 C.F.R. §36.304(a). Title Ill of the ADA requires that, as a place of
public accommodation, the property owner should take measures to provide access to
those areas of a place of public accommodation where goods and services are made
available to the public. 28 C.F.R. 36.304(c)(2). Title Ill of the ADA also requires that, as a
place of public accommodation, the property owner should take any other measures

necessary to provide access to the goods, services, facilities, privileges, advantages, or
accommodations of a place of public accommodation. 28 C.F.R. §36.304(c)(4).

In the event that the property owner can demonstrate that barrier removal is not readily
achievable, he must make his goods, services, facilities, privileges, advantages, or
accommodations available through alternative methods, if those methods are readily
achievable. 28 C.F.R. §36.305(a). The term readily achievable has been defined as
"easily accomplishable and able to be carried out without much difficulty or expense".

Periodic maintenance to ensure continued accessibility is essential in providing a safe
and usable environment. Parking lot markings, signage, door opening pressures, and
maintaining clear floor space at doors and other elements and fixtures, available to the
public, must be part of an ongoing maintenance schedule.

lf you have any questions regarding this report, please feel free to contact me.

Sincerely,

(LOL

Craig Lobnow, CASp #634

 

Powered by & BlueDAG

 
Case 5:20-cv-01077-PSG-SP Document 31 Filed 10/15/20 Page4of10 Page ID #:127

Parking Lot - 16441-16455 Main St Hesperia, CA 92345

Exterior
Finding: 1

The parking lot has been found to be in substantial compliance with accessibility codes, standards,
and regulations. There are sufficient accessible parking spaces and access aisles for the overall
number of parking spaces provided. The accessible parking spaces and access aisles are in full
compliance in regard to dimensions, slope, markings, and signage.

Citation:
2016 CBC 11B (7/1/18) Section: 208 & 502

2010 ADAS Section: 208 & 502

 

 

Raa CSCS NOONE RSS OSORNO RR
ProCASp ProCASp.com 3 of 8

(833) 776 - 2277 Powered by & BlueDAG

 
Case 5:20-cv-01077-PSG-SP Document 31 Filed 10/15/20 Page5of10 Page ID #:128

Parking Lot - 16441-16455 Main St Hesperia, CA 92345

Finding #1 Additional Finding Photos

 

 

 

 

 

 

 

ProCASp ProCASp.com 4 of 8
(833) 776 - 2277 Powered by °& BlueDAG

 
Case 5:20-cv-01077-PSG-SP Document 31 Filed 10/15/20 Page 6of10 Page ID #:129

Parking Lot - 16441-16455 Main St Hesperia, CA 92345

Finding #1 Additional Finding Photos

 

 

 

aaaererrrrerreereeee cerca eee ee aN ss SSE CNN
ProCASp ProCASp.com 5 of 8

(833) 776 - 2277 Powered by & BlueDAG
Case 5:20-cv-01077-PSG-SP Document 31 Filed 10/15/20 Page 7of10 Page ID #:130

Parking Lot - 16441-16455 Main St Hesperia, CA 92345

Exterior
Finding: 2

The accessible routes from the parking spaces to the building entrances have been found to be in
substantial compliance with accessibility codes, standards, and regulations. There are compliant
accessible routes from building to building, and there is a compliant accessible route from the public
Way.

Citation:

2016 CBC 11B (7/1/18) Section: 206 & 401-406

2010 ADAS Section: 206 & 401-406

 

 

 

ProCASp ProCASp.com 6 of 8
(833) 776 - 2277 Powered by (@ BlueDAG

 
Case 5:20-cv-01077-PSG-SP Document 31 Filed 10/15/20 Page 8of10 Page ID #:131

Parking Lot - 16441-16455 Main St Hesperia, CA 92345

Finding #2 Additional Finding Photos

 

ProCASp ProCASp.com 7of8
(833) 776 - 2277 Powered by (8 BlueDAG

 
Case 5:20-cv-01077-PSG-SP Document 31 Filed 10/15/20 Page9of10 Page ID #:132

Parking Lot - 16441-16455 Main St Hesperia, CA 92345

Finding #2 Additional Finding Photos

 

 

ProCASp ProCASp.com 8 of 8
(833) 776 - 2277 Powered by (& BlueDAG

 
Case 51]

N

SI Dn Wn S&F W

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

 

PO-cv-01077-PSG-SP Document 31 Filed 10/15/20 Page 10of10 Page ID #:133

PROOF OF SERVICE

I, the undersigned, certify and declare that I am over the age of 18 years,
employed in the County of Orange, State of California, and not a party to the
above-entitled cause.

On October 15, 2020, I served the foregoing document described as
“Defendants’ Evidence of Absence of Violation” on the party or parties by
electronic service as follows:

BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed
the documents with the Clerk of the Court by using the CM/ECF system.
Participants in the case who are registered CM/ECF users will be served by the
CM/ECF system. Participants in the case who are not registered CM/ECF users
will be served by mail or by other means permitted by the court rules and proofs of
such service filed separately.

Joseph R. Manning, Jr., Esq.

MANNING LAW, APC

20062 SW Birch Street, Suite 200
Newport Beach, CA 92660
DisabilityRights@manninglawoffice.com

Executed on October 15, 2020 at Costa Mesa, California.

I hereby certify that I am employed in the office of a member of the Bar of
this Court at whose direction the service was made.

I hereby certify under the penalty of perjury that the foregoing is true and
correct.

/s/ Robert Hall

 

ROBERT HALL

2

 

DEFENDANTS’ EVIDENCE OF ABSENCE OF VIOLATION

 

 

 
